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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                           CASE NO. 08-21158-CR-SCOLA/BANDSTRA

   UNITED STATES OF AMERICA

   v.

   STEVEN STEINER,
   a/k/a “STEVEN STEINGER,”

               Defendant.
   ___________________________________ /

            ORDER ON UNITED STATES’S MOTION FOR ORDER DIRECTING
             RICHARD LUBIN, ESQ. TO TURNOVER PROCEEDS OF A BOND
           VIOLATION OR, IN THE ALTERNATIVE, FOR AN ORDER TO SHOW
          CAUSE WHY COUNSEL SHOULD NOT BE HELD IN CIVIL CONTEMPT
          THIS MATTER came before the Court on December 16, 2011 for a hearing on the
   United States of America’s Motion for Order Directing Richard Lubin, Esq. to Turnover
   Proceeds of a Bond Violation or, in the Alternative, for and Order to Show Cause Why Counsel
   Should Not be Held in Civil Contempt (ECF No. 519).                The Government seeks an order
   requiring attorney Richard Lubin, Esq. (“Lubin”) to the deposit with the registry of the court
   $750,000, constituting funds Lubin allegedly received in violation of the Order on Initial
   Appearance of Defendant Steven Steiner (“Steiner”) in this case, as well as the specific
   conditions of two appearance bonds totaling $3.5 million. In the alternative, the Government
   asks that this Court to enter an order requiring Lubin to show cause why he should not be held in
   civil contempt for continuing to retain and control these funds.
          Lubin has filed a response in which he claims that he is entitled to the funds as part of a
   legal fee agreement with Steiner that pre-existed the court order and appearance bonds. The
   Government has filed a reply to Lubin’s response. After considering the credible evidence and
   testimony presented during the hearing, the written submissions of the parties, including the
   exhibits attached to those submissions, and the arguments of the attorneys in open court, and for
   reasons more fully set forth below, the Motion is granted.
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                                  PROCEDURAL BACKGROUND
          On or about May 3, 2004, Mutual Benefits Corporation (“MBC”) was sued by the United
   States Securities and Exchange Commission (“SEC”) in a civil action, S.E.C. v. Mutual Benefits
   Corp. et al., (No. 04-60573-CIV-MORENO (S.D.Fla.) (the “SEC Fraud Action”). The SEC
   obtained a restraining order to halt the alleged fraud at MBC, and by order dated May 4, 2004
   (the “May 4, 2004 Order”), a receiver (the “MBC Receiver”) was appointed by the United States
   District Court for the Southern District of Florida to identify and oversee the assets and liabilities
   of MBC.
          As part of the May 4, 2004 Order, the MBC Receiver was ordered to “[i]nvestigate the
   manner in which the affairs of MBC . . . were conducted and institute such actions . . . as the
   Receiver deems necessary against those individuals [and] corporations . . . which the Receiver
   may claim have wrongfully, illegally or otherwise improperly misappropriated or transferred
   monies or other proceeds directly or indirectly traceable from investors in MBC, . . . or against
   any transfers of monies or other proceeds directly or indirectly traceable from investors in
   MBC[].” The court further ordered that MBC and its “officers, agents, employees, attorneys,
   and attorneys-in-fact shall take no action, directly or indirectly, to hinder, obstruct, or otherwise
   interfere with the Receiver in the conduct of the Receiver’s duties.”
          Steiner was named as a defendant in the SEC Fraud Action as someone who was alleged
   to have participated in fraud at MBC and to have illegally received proceeds from MBC.
   Camden Consulting and SKS Consulting were named as relief defendants that were alleged to
   have illegally received proceeds from MBC and against which a money judgment was sought.
   Steiner and Henry Fecker (“Fecker”) were served with copies of legal documents filed in the
   SEC Fraud Action.
          As part of its efforts to carry out the May 4, 2004 Order and to identify “illegally or
   otherwise improperly misappropriated or transferred monies or other proceeds directly or
   indirectly traceable from investors in MBC,” the MBC Receiver obtained sworn statements and
   financial documentation from Steiner, Fecker, Camden Consulting, and SKS Consulting –
   including sworn depositions from Steiner on October 10, 2005, November 15, 2005, December
   4, 2008, and March 5, 2010 – in which Steiner provided testimony under oath concerning,
   among other things, his assets.
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          Prior to April 10, 2007, Steiner and Fecker caused the submission of documentation to
   the SEC and the MBC Receiver containing financial information in order to obtain a favorable
   settlement of their liability in the SEC Fraud Action, and specifically to seek the agreement of
   the SEC to a reduced penalty.
          Based on documentation and sworn representations and testimony provided by Steiner
   and Fecker to the SEC prior to April 10, 2007, the SEC agreed to resolve the allegations in the
   SEC Fraud Action against Steiner, Camden Consulting, and SKS Consulting, jointly and
   severally, for approximately $5 million. The SEC further agreed to a reduced amount of
   $3,925,000 based on the financial representations submitted by Steiner and Fecker.
          On or about April 10, 2007, the court in the SEC Fraud Action entered a Final Judgment
   of Permanent Injunction (the “April 10, 2007 Court Order”) against Steiner, Camden Consulting,
   and SKS Consulting. The court ordered and adjudged Steiner, Camden Consulting, and SKS
   Consulting “jointly and severally liable for disgorgement and pre-judgment interest in the
   amount of $5 million, representing the proceeds they received as a result of the conduct alleged”
   in the SEC Fraud Action. The court further ordered that, based upon the “sworn representations
   in their Statements of Financial Condition, and other documents submitted to [the SEC],”
   submitted by each of Steiner, Camden Consulting, and SKS Consulting, they “shall together pay
   $3,925,000” to the MBC Receiver.
          On December 9, 2008, the MBC Receiver notified Steiner directly and his former
   attorney, David Ferguson, of the MBC Receiver’s intention to levy and execute judgment, as set
   forth in the April 10, 2007 Court Order, against the New York Apartment. A courtesy copy of
   the letter was sent by electronic mail to an attorney from Lubin’s law firm.
          Steiner’s former counsel requested that the MBC Receiver delay recording the judgment
   so that the purchase price would not be depressed. Steiner’s former counsel sent a draft unsigned
   stipulation stating that Steiner would provide $900,000 of the proceeds of any sale of the New
   York Apartment to the MBC Receiver in satisfaction of the April 10, 2007 Court Order in an
   effort to prevent the MBC Receiver from registering the judgment. Steiner never signed the
   stipulation and the MBC Receiver ultimately registered the judgment in New York State.
          On December 4, 2008, Steiner was deposed by the MBC Receiver.                 Steiner was
   represented at that deposition by a lawyer from the law firm of Lubin and Metz, P.A. As part of
   that deposition, Steiner was asked about the New York Apartment. When questioned about the
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   source of the funds used to purchase the New York Apartment, the lawyer from Lubin and Metz,
   P.A. directed Steiner to assert his Fifth Amendment privilege.
          The Government contends that funds from MBC were used to purchase the New York
   Apartment. Funds from MBC’s general ledger were transferred to an entity controlled by
   Steiner, SKS Consulting, and deposited in a Northern Trust account controlled by Steiner. The
   funds from Northern Trust that were used to acquire the New York Apartment are thus traceable
   to the MBC general ledger. The Government claims that had Steiner not sold the New York
   Apartment, it would have sought forfeiture of it.
          On December 23, 2008, Steiner was charged in the instant case, alleging mail and wire
   fraud and money laundering conspiracy, related to a scheme to defraud approximately 30,000
   investors in an amount exceeding $800 million. Steiner is alleged to be a controlling principal
   who received more than $10 million in illegal proceeds from the MBC fraud scheme.
          On January 8, 2009, Steiner had his initial appearance before a United States Magistrate
   Judge of the Southern District of Florida, and was released on a $3 million personal surety bond
   with co-signers, and on a $500,000 10% bond with co-signors. As reflected in the Order on
   Initial Appearance (ECF No. 35) and the Court Minutes (ECF No. 32), various special conditions
   were placed on Steiner as part of his bond, including the directive that Steiner not further
   encumber or dispose of property. Lubin entered his permanent appearance in this matter on
   behalf of Steiner at Steiner’s initial appearance. Lubin was present at the initial appearance
   when the bond conditions were announced and certainly had access to the public record.
          As to the specific bond conditions for Steiner, the handwritten clerk’s notes on the Order
   on Initial Appearance state “not to further encumber property,” (emphasis added). Steiner
   signed his $3 million personal surety bond as well as the $500,000 10% bond. Both of the bonds
   had special conditions selected, including “Item k” (emphasis added below), as follows:
                  None of the signatories may sell, pledge, mortgage,
                  hypothecate, encumber, etc., any property they own, real or
                  personal, until the bond is discharged, or otherwise modified
                  by the Court.

          In addition, both of the bonds contained Penalties and Sanctions Language and
   contained acknowledgments that the signatories had read, understood, and agreed to comply with
   the terms of the bond. Both of the bonds became a matter of public record (ECF Nos. 114, 115).
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          Steiner also signed a Pretrial Instructions Form in the presence of a U.S. Probation
   Officer, stating that “I understand the above stated instructions and understand that failure to
   comply will be reported to the Court and may result in the revocation of my bond, causing my
   detention pending the outcome of my case.”          Included on the Pretrial Instructions Form
   (emphasis added below) was the following:
                  None of the bond signatories may sell, pledge, encumber,
                  mortgage any property they own, real or personal, until the
                  bond is discharged or otherwise modified by the court.

          On December 18, 2009, 11 months after posting the bonds, Steiner sold the New York
   Apartment to A.C. for $1.3 million. Steiner thereafter caused the bulk of the sales proceeds to be
   transmitted to purported creditors by the closing attorney. These transmittals had the effect of
   preventing the MBC Receiver from receiving any portion of the proceeds. Steiner also caused
   $750,000 of the sales proceeds of the New York Apartment, to be paid by the purchasers directly
   to Lubin’s law firm.
          On August 23, 2011, Steiner was indicted in United States v. Fecker, et al., Case No.
   11-20578 for, inter alia, conduct relating to the sale of the New York Apartment.
   On September 2, 2011, Magistrate Judge Goodman entered a Detention Order in that case in
   which he found that the sale of the New York Apartment violated the specific condition of bond
   prohibiting the sale of any property.
          On September 16, 2011, the predecessor trial court in this case entered an Order
   Revoking, Estreating, and Forfeiting Bond (ECF No. 493). The court found that in light of the
   charges against Steiner, there was probable cause to believe Steiner, in violation of the
   conditions of his bond, engaged in criminal activity while on bond in this case.
                               SUMMARY OF GOVERNMENT’S CLAIMS
          The Government claims that as a result of the sale and the manner in which it was
   conducted, Steiner violated at least two bond conditions. First, Steiner was prohibited from
   violating any federal, state, or local laws while on release, yet he engaged in a conspiracy to
   commit money laundering and obstruction of justice, as well as substantive counts of money
   laundering and obstruction of justice. He has been indicted on these charges in United States vs.
   Henry Fecker, III & Steven Steiner) (Case No. 11-20578-CR-WILLIAMS) (the “2011 Case”).


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          Second, the Government argues, Steiner was required not to further encumber or sell
   property, yet he sold the New York Apartment. The New York property transaction thereafter
   became the subject of a garnishment action brought in February 2010 against Steiner and Lubin
   by the MBC Receiver in the SEC proceedings. Lubin eventually moved for summary judgment.
   On November 30, 2010, Magistrate Judge Edwin Torres entered a fourteen page report and
   recommendation in favor of Lubin, which was later ratified by court order entered by Chief
   Judge Federico Moreno. Magistrate Judge Torres found that the $750,000 paid to Lubin for the
   sale of the New York Apartment represented payment of legitimate legal fees owed to Lubin and
   that once paid, the monies belonged to Lubin and were not Steiner’s monies. The Government
   contends, however, that among other material omissions made by Steiner during the litigation
   leading up to the issuance of the report and recommendation by Magistrate Judge Torres (and
   resulting order by Chief Judge Moreno), was the failure to disclose the four separate orders (the
   orders on initial appearance and the two bond conditions), to the court during the SEC Fraud
   Action. The Indictment in the 2011 case thus alleges in the obstruction conspiracy count that
   Steiner’s false and fraudulent conduct and material omissions, taken as a whole, did corruptly
   influence, obstruct, and impede the due and proper administration of justice, including with
   regard to the issuance of the report and recommendation.
          Furthermore, Magistrate Judge Goodman found that the sale of the New York Apartment
   was a violation of Steiner’s Order on Initial Appearance and his two bonds in this case. Citing
   Steiner’s violations of the Order on Initial Appearance and bonds ordering Steiner not to sell or
   encumber property, Judge Goodman found that “Defendant Steiner has sold and encumbered
   property since January 8, 2009.” Lubin represented Steiner at the detention hearing on August
   30, 2011, before Judge Goodman in the 2011 Case. Lubin did not contest the Government’s
   position that the sale of the New York Apartment constituted a bond violation.
          Thereafter, Magistrate Judge Goodman entered a Detention Order (ECF No. 20) finding,
   in part, that Steiner had violated his bond conditions by selling the New York Apartment. Lubin
   has been on notice of the violation since the day it occurred, but has also been aware that as of
   August 30, 2011, a court has found this conduct to have constituted a violation. Since the
   August 30, 2011 hearing, the United States has requested that Lubin turn over to the registry of
   the court, the $750,000 that he received in violation of Steiner’s conditions of bond.

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          On September 19, 2011, the predecessor trial court entered its order revoking, entreating,
   and forfeiting bond (ECF No. 493) requiring Steiner and his bond co-signers, Suzanne
   Throgmartin, Caryn Stark, and Lee Sculley, to forfeit the $3 million and $500,000 bonds.
   Because of the bond violation concerning the sale of the New York Apartment, however, Steiner
   does not have the financial resources to meaningfully contribute to this forfeiture. The
   Government claims that it is confounding that his lawyer, Lubin, who was present when the bond
   conditions were set, could knowingly profit from such a violation and continue to hold these
   $750,000 funds in light of the factual record. The Government further claims that Lubin should
   not profit from his client’s bond violation and that his unwillingness to return these funds to the
   court’s registry in light of the orders and clear record set forth above is likewise confounding.
          On October 7, 2011, Judge Williams held a hearing on the 2011 case and found Steiner
   entitled to court-appointed counsel under the Criminal Justice Act. The Government claims that
   given the direct traceability of the $750,000 to the bond violation, and Steiner’s apparent lack of
   financial resources to otherwise satisfy the two appearance bonds totaling $3.5 million that are
   now forfeitable, immediate turnover should be ordered. It further claims that these funds, once
   deposited, should be subject to additional motions practice, including an anticipated motion for
   protective order by the Government to preserve the availability of the funds for forfeiture.
          By its motion, the Government seeks to recover these funds which are allegedly not only
   directly traceable to, and derived from, a bond violation in this case, but which funds are also
   further directly traceable as proceeds of the MBC fraud scheme. The Government claims that as
   an officer of the Court, Lubin is not entitled to retain funds that were acquired in violation of a
   court order and that he should be required to turn over the $750,000 to the registry of the court,
   so that the funds may be estreated and so that Steiner’s bond violation can be further remedied.
          In the alternative, Lubin should be required to show cause why he should not be held in
   civil contempt, the Government argues. See United States v. McCorkle, 321 F.3d 1292, 1298
   (11th Cir. 2003). In contrast to criminal contempt, “civil contempt sanctions, or those penalties
   designed to compel future compliance with a court order, are considered to be coercive and
   avoidable through obedience, and thus may be imposed in an ordinary proceeding.” Id. at 12989
   (quoting Internal Union, UMWA v. Bagwell, 512 U.S. 821-28 (1994)). Civil contempt pertains
   to accidental, inadvertent, or negligent violations of a court order, while criminal contempt
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   requires willfulness, meaning a deliberate or intended violation. See In re McDonald, 819 F.2d
   1020 (11th Cir. 1987); United States v. Baldwin, 770 F.2d 1550 (11th Cir. 1985).
          The United States is not by this motion taking a view as to the intent of Lubin in
   connection with his conduct involving the transaction and bond violation. The Government
   claims that it is clear that Steiner was ordered not to sell property, that Steiner sold the New York
   Apartment, and that $750,000 went to Lubin. According to the Government, it is equally clear
   that this conduct amounted to a bond violation of Steiner’s two appearance bonds and, more
   specifically, a violation of the Order on Initial Appearance issued by Judge Palermo on
   January 7, 2009 (ECF Nos. 32, 35).
                                     SUMMARY OF LUBIN’S CLAIMS
          Lubin is an attorney in good standing with the Florida Bar, who has been practicing law
   for more than 37 years. In or around November, 2006, Lubin began representing Steiner in
   connection with the criminal investigation relating to Steiner’s involvement with MBC. This
   engagement proceeded pursuant to an oral fee agreement whereby Steiner agreed to pay Lubin
   the sum of $2 million dollars.
          In May 2004, Steiner and MBC were sued by the SEC in SEC v. Mutual Benefits Corp.,
   et. al., Case No. 04-60573-CIV-MORENO. Neither Lubin nor his law firm represented Steiner
   in the SEC proceedings, except for a limited appearance that was entered related to the criminal
   representations. On May 21, 2008, prior to the criminal indictment, Steiner and Lubin executed
   an agreement whereby the sum of $750,000 from the proceeds of the sale of the New York
   Apartment would be paid to Lubin for past and future legal services. To perfect his interest in
   the anticipated sale proceeds, Lubin executed and filed in New York a UCC lien instrument.
          Prior to all this, in connection with the SEC litigation, on April 10, 2007, the Court
   entered an Agreed Final Judgment against Steiner and related entities in the amount of $5 million
   and ordered Steiner and the companies to jointly pay $3,925,000 to the MBC Receiver. In
   December, 2008, the MBC Receiver sent a letter to Steiner’s civil attorney, David Ferguson,
   Esq., threatening to place a lien on the New York property and seeking an agreement that the
   entire net proceeds from any sale go to satisfy the SEC’s final judgment. Steiner never executed
   the proposed agreement. The MBC Receiver thereafter attempted to register the judgment in
   New York State, but failed to do so in a manner that made the judgment enforceable.
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          On December 23, 2008, Steiner was indicted in the instant case.            The indictment
   contained provisions for criminal forfeiture, but did not include Steiner’s New York Apartment.
   Steiner appeared before Magistrate Judge Peter Palermo in Miami, Florida on January 7, 2009
   for his Initial Appearance. Steiner was represented by Lubin, who was assisted by his associate,
   Jonathan Kaplan. The proceeding was recorded by the court’s tape system, which malfunctioned
   on that day and only a minimal portion of the hearing exists.
          Lubin and the Government agreed to a personal surety bond totally $3,000,000 along
   with a 10% $500,000 bond. At the hearing, the sureties were introduced to Magistrate Judge
   Palermo and the bond was approved. An order setting standard conditions of bond for the
   $3,000,000 personal surety bond was signed by Magistrate Judge Palermo on January 7, 2009.
   One of the sureties was given until January 12, 2009 to execute the bond paperwork. Steiner and
   another surety were given until January 12, 2009 to deposit $50,000 for the 10% bond into the
   court registry. On January 12, 2009, upon receipt of the $50,000 into the court’s registry,
   Magistrate Judge McAliley, in chambers and without the presence of the respective parties,
   signed the Order Setting Standard Conditions of Bond for the $500,000, 10% bond.
          Prior to the Initial Appearance, Lubin was present while Steiner was interviewed by a
   pretrial services officer. The report generated by pretrial services was provided to the court, the
   Government and Lubin at the initial appearance. The report advises that Steiner’s New York
   Apartment was then listed for sale for $1,700,000.
          In his written Response, Lubin claims that the Government was aware of the pending sale
   of the New York property, and because, as discussed below, proceeds from that sale were, in
   part, promised to Lubin as fees, and were, in part claimed by the SEC and its Receiver, the bond
   conditions ultimately imposed always contemplated that the New York property sale was not
   restricted. In fact, according to Lubin, that is why the handwritten clerk’s notes on the Order on
   Initial Appearance state “not to further encumber property,” (emphasis added). The other bond
   paperwork executed in connection with this case with the language that “[n]one of the signatories
   may sell, pledge, mortgage, hypothecate, encumber, etc., any property they own, real or personal,
   until the bond is discharged, or otherwise modified by the Court,’ are pre-printed conditions that
   the court clerk checked and, according to Lubin, they do not say anything specific to the New
   York Apartment.
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          On December 18, 2009, Steiner sold the New York property. Steiner was represented at
   the closing by New York attorney Edmond Wolk. According to the closing documents, the sales
   price was $1,100,000. All duly recorded liens and debts were paid out at the time of closing,
   including $750,000 to Lubin. Because the MBC Receiver’s claim was not duly recorded, the
   MBC Receiver did not receive any funds from this closing.
          The New York property transaction thereafter became the subject of a garnishment action
   brought in February 2010 against Steiner and Lubin by the MBC Receiver in the SEC
   proceedings.    Lubin eventually moved for summary judgment.             On November 30, 2010,
   Magistrate Judge Edwin Torres entered a fourteen page report and recommendation in favor of
   Lubin. Magistrate Judge Torres found that the $750,000 paid to Lubin for the sale of the New
   York property represented payment of legitimate legal fees owed to Lubin and that once paid, the
   monies belonged to Lubin and were not Steiner’s monies. On December 13, 2010, Chief Judge
   Moreno entered an order adopting Magistrate Torres’ report and recommendation and granting
   Lubin’s Motion for Summary Judgment
          The litigation relating to the MBC Receiver’s protest to the New York property sale and
   the actual garnishment action were contentious, public, and publicized. Throughout this time
   period, SEC attorneys and the MBC Receiver were working closely with the Government’s
   criminal investigation. The MBC Receiver’s garnishment was filed a month after Steiner’s initial
   appearance in the criminal case. Yet, according to Lubin, for approximately eighteen months, no
   Government counsel expressed any concern that the sale of the New York property was contrary
   to Steiner’s bond conditions. Lubin posits the simple reason is that the New York property was
   never intended to be subject to any bond restriction.
          On August 30, 2011, in connection with Steiner’s indictment in Case No. 11-CR-20578-
   LENARD, Magistrate Judge Jonathan Goodman conducted a detention hearing. The Magistrate
   Judge’s findings and clarifications order do not speak to Lubin’s circumstances, argues Lubin.
   On September 16, 2011, the predecessor trial court entered an order finding that there was
   probable cause to believe that Steiner, contrary to his bond conditions, engaged in criminal
   activities while on bond in this case, and accordingly, that Steiner’s bail was forfeited. This order
   likewise does not speak to Lubin’s circumstances, he argues.
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          Lubin asserts that the Government’s motion fails to establish a legal basis for its request
   that Lubin turnover fees properly earned through the legal representation of a client and fails to
   establish a legal basis for its request that Lubin should be required to show cause why he should
   not be held in civil contempt.
          Lubin also claims the he should not be held in civil contempt. Civil contempt may only
   be imposed to compel compliance with a court order or to compensate a party harmed by non-
   compliance. McComb v. Jacksonville Paper Co., 336 U.S. 187, 191 (1949). The following must
   be established to prove civil contempt: (1) that the alleged contemnor had notice that he was
   “within the order’s ambit”; (2) that the order was “clear and unambiguous”; (3) that the alleged
   contemnor had the ability to comply; and (4) that the order was indeed violated. See United
   States v.Saccoccia, 433 F.3d at 27 (citations omitted). Civil contempt cannot be established
   here, he claims, because the order at issue – the bond order – was not clear and unambiguous.
   Further, Lubin claims he did not violate the bond order.
          According to Lubin, the facts surrounding the bond order and the sale of the New York
   property do not support a finding of contempt or a bond violation as to Lubin. Specifically, the
   Government was aware of the pending sale of the New York property, proceeds from the sale
   were promised to Lubin as fees, and the Order on the Initial Appearance contemplates the sale of
   the New York property because it states “not to further encumber property,” (emphasis added).
   Moreover, Lubin argues, he litigated receipt of his fee from the New York property and his fee
   was validated by the court. Lubin stresses that he has always been open and notorious in relation
   to receipt of legal fees from the New York property and has always acted transparently and
   appropriately.
                                    SUMMARY OF TESTIMONY
          Richard Lubin testified at the hearing as follows. He indicated that he had a fee
   agreement with Steiner for his representation of Steiner in a criminal investigation prior to the
   indictment being returned. Specifically, prior to the January 2009 bond hearing, Lubin had
   received approximately $400,000.00 from Steiner. On May 21, 2008, Lubin and Steiner entered
   into a written agreement which included a provision that Lubin was entitled to receive
   $750,000.00 from the sale of the co-op as partial payment of the legal fees owed by Steiner. The
   co-op was not listed as a forfeitable asset in the indictment. Lubin had a UCC lien on the New
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   York property, and even though he was aware that the Receiver had a claim for the co-op, Lubin
   was the only person with a lien on the property. Thus, Lubin felt confident that his lien was
   superior to any claim by the Receiver and that is why he felt comfortable filing a notice of
   permanent appearance on behalf of Steiner.
           After receiving the $750,000.00 cashier’s check from the sale of the co-op, Lubin filed an
   8300 form notifying the government of his receipt of the monies. While the litigation was
   pending before Chief Judge Moreno relating to the Receiver’s claim on the $750,000.00, there
   was never a claim that the sale of the co-op constituted a violation of Steiner’s bond.
           Further, after the bond conditions were set by Magistrate Judge Palermo, Lubin felt
   certain that the sale of the New York co-op was not restricted by the bond. After the bond was
   set and up to and even after the sale of the co-op, neither of the original prosecutors in the
   criminal case ever indicated to Lubin that there was any problem with the sale of the co-op going
   forward. Lubin does not recall having any discussion with Magistrate Judge Palermo concerning
   the sale of the co-op. Lubin recalls a conversation with AUSA Levy, and believes it was in
   writing, concerning an agreement for a bond for Steiner on the eve of Steiner’s indictment.
   Lubin acknowledged in his writing that it was unlikely that Steiner’s New York co-op or Ft.
   Lauderdale property were going to be available for a bond and was seeking a personal surety
   bond.
           Significantly, Lubin could not recall anything specifically said by Levy concerning the
   New York co-op, but Lubin must have gleaned from the conversations that Levy thought the co-
   op was forfeitable. But, once the indictment was returned which did not list the co-op as being
   forfeitable, Lubin felt the Government had finally accepted Lubin’s representation that the co-op
   was not forfeitable. That is why Lubin filed a permanent appearance. He thought he was going
   to get the $750,000.00 from the sale of the co-op.
           Steiner had agreed to pay $2 million to Lubin for Lubin’s representation of Steiner. Lubin
   had received $400,000.00. With the additional $750,000.00 from the sale of the co-op, Lubin
   felt that he would be able to represent Steiner and that someday, Steiner would pay him the
   balance of the fee.
           Special Agent Roy Van Brunt of the FBI testified at the hearing as follows. He was
   present on January 7, 2009 at Steiner’s bond hearing. According to Van Brunt, the topic of the
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   New York co-op was not discussed in open court during the hearing. The AUSA and Lubin had
   conversations concerning the bond prior to the bond hearing that Van Brunt did not participate
   in. The main issue being negotiated was the self-surrender of Steiner. The gist of the deal was
   that he would be allowed to surrender.
                                   FINDINGS AND CONCLUSIONS
           For the reasons that follow, the Court finds that Lubin must turn over the $750,000 he
   received from Steiner’s sale of the New York Apartment, as that money constitutes direct
   proceeds of a bond violation.
           Lubin maintains that he is entitled to keep the $750,000 because, prior to the setting of
   bond, he had a valid legal fee agreement with Steiner entitling him to a portion of the proceeds
   from the sale. Lubin further argues that the Order on Initial Appearance contemplates the sale of
   the New York Apartment because it merely prohibits the bond signatories from “further
   encumber[ing]” any property. According to Lubin, his UCC claim on the New York Apartment
   had been perfected by that time and, therefore, was excluded from the bond’s reach. He further
   contends that his interest in the New York Apartment was open and notorious and that the
   Government and the court setting bond must, or should, have been aware of it. The Court is not
   persuaded by these arguments.
           Lubin focuses too heavily on the bond condition that property shall not be “further
   encumber[ed].” However, in addition to prohibiting Steiner from “further encumber[ing]” any
   property, the bond conditions also provide that the bond signatories shall not sell any property.
   A sale of property is distinct from an encumbrance. To encumber property means “to burden
   with a legal claim (as a mortgage).” See Merriam Webster Online Dictionary (2011), available
   at: http://www.merriam-webster.com; cf. 25 C.F.R. § 84.002 (“Encumber means to attach a
   claim, lien, charge, right of entry or liability to real property[.]”). Similarly, an encumbrance is
   “[a] claim or liability that is attached to property or some other right and that may lessen its
   value, such as a lien or mortgage.” See Black’s Law Dictionary 547 (7th ed. 1999). A sale of
   property is not defeated by an encumbrance; the two are not one in the same. See id. (“An
   encumbrance cannot defeat the transfer of possession, but it remains after the property or right is
   transferred.”).
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            More significantly, the Court rejects Lubin’s suggestion that the handwritten “no further
   encumbrances” language on one of the bond papers is a confirmation of some agreement
   between him, the Government, and the court that the New York co-op would be sold and Lubin
   would receive the $750,000 to satisfy his UCC lien. When given the chance to specifically
   testify about any agreement with the Government, Lubin indicated he had no specific
   recollection of any discussion with a prosecutor in which the sale of the co-op was approved.
   When given the chance to specifically testify about the sale of the co-op being discussed in front
   of Magistrate Judge Palermo during the bond hearing, Lubin had no specific recollection. In
   contrast, Special Agent Van Brunt had a specific recollection of the bond hearing and his
   unrefuted recollection was that there was no discussion in court about the sale of the New York
   co-op.
            The court finds that no agreement existed between Lubin and the Government or Lubin
   and the court for the sale of the New York co-op to take place. As the attorney for Steiner, he
   was aware of the specific court orders prohibiting the sale of any property, real or personal, of
   Steiner while on bond. At the very least, if he felt the one handwritten note “not to further
   encumber” created some ambiguity about this issue (which the court finds it did not) he should
   have sought clarification from the court prior to the sale taking place and prior to receiving funds
   in violation of court orders. In the light most favorable to Lubin, he seems to have taken the tact
   of “it is far better to seek forgiveness than permission.”
             Here, as Magistrate Judge Goodman found, there is no question that the sale of the New
   York apartment violated the specific condition of bond absolutely prohibiting the sale of any
   property. See Detention Order (ECF No. 20), Case No. 11-CR-20578 (Sept. 2, 2011) (“The
   defendant has engaged in bond violations with regard to the 2008 Case, including the sale of
   property to include the New York Apartment[.]”). Consequently, it is no answer to say that
   Lubin is in the clear simply because his UCC claim predated the bond and, therefore, the New
   York property was not “further encumber[ed].” The sale itself constituted a clear violation of the
   bond terms; thus, any proceeds acquired because of that sale stemmed directly from a bond
   violation.
            Nor is it any answer to say that Lubin may keep the funds because he himself did not
   engage in any violation of the bond conditions. Whether it is Lubin’s former client, and not
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   Lubin himself, who committed the breach is of no moment. As an officer of the Court, Lubin
   may not retain funds that were acquired in violation of a court order, regardless of the identity of
   the transgressor and regardless of whether Lubin subjectively believed that it was ok. Indeed, to
   permit Lubin to retain funds derived from the sale of Steiner’s New York Apartment would be to
   condone a Bar member in profiting from his client’s direct violation of a bond condition. This
   Court will not do so.
          Accordingly, Lubin is hereby directed to turn over the $750,000 he acquired from the sale
   of the New York Apartment. Such funds shall be deposited in the court registry forthwith and
   the Court reserves jurisdiction to determine how and to whom those funds shall ultimately be
   paid. In light of the Court’s belief that Lubin will comply with this order, the Court sees no need
   to reach the Government’s alternative claim for relief of issuing a rule to show cause why Lubin
   should not be held in contempt of court.

          DONE and ORDERED this 22nd day of December, 2011


                                                 __________________________________
                                                 ROBERT N. SCOLA, JR.
                                                 UNITED STATES DISTRICT COURT JUDGE

   cc: counsel of record
